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EXHIBIT K
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Bergeron, Thomas <thergeron@courts.ri.gov> Mon, Jul 23, 12:10
PM (7 days ago)

to me, LLEinfo

Attorney Ennis,

Korde & Associates, P.C. received a limited liability entity (LLE) license from this Court,
pursuant to Article Il, Rule 10, on March 16, 2017. LLE application files are confidential:

accordingly, this office cannot provide you with copies of any of the requested
documents.

Thank you,

Thomas M. Bergeron, Esq.
leting Administrative Assistant
to the Chief Justice

Staff Attorney

Rhode Island Supreme Court

250 Benefit Street

Providence, Rhode Island 02903
Tek (401) 222-8644
